     Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________
     District             District of _________________
              of New Mexico           (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                              Chapter 7
                                                           
                                                           ✔
                                                           
                                                               Chapter 11
                                                               Chapter 12
                                                                                                                                    Check if this is an
                                                              Chapter 13                                                              amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                       04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                         Kit Carson Home & Museum, Inc.
                                            ______________________________________________________________________________________________________




2.    All other names debtor used           ______________________________________________________________________________________________________
      in the last 8 years                   ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer             XX-XXXXXXX
                                            ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                      Principal place of business                            Mailing address, if different from principal place
                                                                                                   of business
                                               113 Kit Carson Rd                                   _______________________________________________
                                            ______________________________________________
                                            Number     Street                                      Number     Street

                                            ______________________________________________         _______________________________________________
                                                                                                   P.O. Box

                                               Taos                         NM   87571-5949
                                            ______________________________________________         _______________________________________________
                                            City                        State    ZIP Code          City                      State      ZIP Code

                                                                                                   Location of principal assets, if different from
                                                                                                   principal place of business
                                               Taos County
                                            ______________________________________________
                                            County                                                 _______________________________________________
                                                                                                   Number     Street

                                                                                                   _______________________________________________

                                                                                                   _______________________________________________
                                                                                                   City                      State      ZIP Code




5.    Debtor’s website (URL)                 www.kitcarsonmuseum.org
                                            ____________________________________________________________________________________________________


6.    Type of debtor                        
                                            ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy
             Case 20-12130-t11                  Doc  1 Filed 11/08/20 Entered 11/08/20 08:29:41 Page 1 ofpage  611
                Kit Carson Home & Museum, Inc.
Debtor          _______________________________________________________                         Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                         
                                         ✔ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            7121
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                              affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      A debtor who is a “small business                       recent balance sheet, statement of operations, cash-flow statement, and federal
      debtor” must check the first sub-                       income tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
      box. A debtor as defined in
      § 1182(1) who elects to proceed                     
                                                          ✔
                                                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
      under subchapter V of chapter 11                        noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
      (whether or not the debtor is a                         Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
      “small business debtor”) must                           statement of operations, cash-flow statement, and federal income tax return, or if
      check the second sub-box.                               any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When                __________________
      List all cases. If more than 1,                                                                                         MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

               Case
     Official Form 201 20-12130-t11       Doc  1 Filed
                                            Voluntary Petition11/08/20         Entered
                                                               for Non-Individuals            11/08/20 08:29:41 Page 2 ofpage
                                                                                   Filing for Bankruptcy                   612
              Kit Carson Home & Museum, Inc.
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______     ________________
                                                                                City                                            State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49
                                             ✔
                                                                               1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000
                                             ✔
                                                                               $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201
            Case 20-12130-t11                   Voluntary Petition for Non-Individuals Filing for Bankruptcy
                                              Doc  1 Filed 11/08/20 Entered 11/08/20 08:29:41 Page 3 ofpage  613
               Kit Carson Home & Museum, Inc.
Debtor         _______________________________________________________                             Case number (if known)_____________________________________
               Name



                                            $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000
                                            ✔
                                                                                 $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                                petition.
      debtor
                                               I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              11/08/2020
                                                Executed on _________________
                                                            MM / DD / YYYY


                                            /s/ Noah Shapiro
                                                _____________________________________________               Noah Shapiro
                                                                                                           _______________________________________________
                                                Signature of authorized representative of debtor           Printed name

                                                       Secretary/Treasurer
                                                Title _________________________________________




18.   Signature of attorney
                                            /s/ Nephi Hardman
                                                _____________________________________________              Date         11/08/2020
                                                                                                                        _________________
                                                Signature of attorney for debtor                                        MM   / DD / YYYY



                                                Nephi Hardman
                                                _________________________________________________________________________________________________
                                                Printed name
                                                Nephi D. Hardman Attorney at Law, LLC
                                                _________________________________________________________________________________________________
                                                Firm name
                                                9400 Holly Ave NE Bldg 4
                                                _________________________________________________________________________________________________
                                                Number     Street
                                                Albuquerque
                                                ____________________________________________________           NM              87122
                                                                                                               ____________ ______________________________
                                                City                                                           State        ZIP Code

                                                (505) 944-2494
                                                ____________________________________                              nephi@turnaroundbk.com
                                                                                                               __________________________________________
                                                Contact phone                                                  Email address



                                                141595                                                         NM
                                                ______________________________________________________ ____________
                                                Bar number                                             State




  Official Form 201
            Case 20-12130-t11                    Voluntary Petition for Non-Individuals Filing for Bankruptcy
                                               Doc  1 Filed 11/08/20 Entered 11/08/20 08:29:41 Page 4 ofpage  614
 Fill in this information to identify the case:

                Kit Carson Home & Museum, Inc.
  Debtor name _________________________________________________________________

                                          District of New Mexico
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                          16,557.87
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                             16,557.87
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                          194,887.76



4. Total liabilities ...........................................................................................................................................................................          194,887.76
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




                Case 20-12130-t11                                  Doc 1              Filed 11/08/20                           Entered 11/08/20 08:29:41 Page 5 of 61
  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
  Fill in this information to identify the case:

               Kit Carson Home & Museum, Inc.
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          District of New Mexico
  Case number (If known):       _________________________                                                                            Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
   ✔
            Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________
                                                                                                                                   145.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                Type of account                Last 4 digits of account number
          Centinel Bank checking account
    3.1. _________________________________________________  Checking
                                                           ______________________              ____ ____ ____ ____               $______________________
                                                                                                                                   2,355.12
          See continuation sheet
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____                 5,304.79
                                                                                                                                 $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 7,804.91
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
   ✔
            Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit
          Trust account with Nephi D. Hardman Attorney at Law, LLC
    7.1. ________________________________________________________________________________________________________                 $______________________
                                                                                                                                    5,252.96
    7.2._________________________________________________________________________________________________________                 $_______________________

               Case 20-12130-t11                   Doc 1    Filed 11/08/20         Entered 11/08/20 08:29:41 Page 6 of 61
   Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                 page 1
Debtor           Kit Carson Home & Museum, Inc.
                _______________________________________________________                          Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                   $______________________
                                                                                                                                     5,252.96
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      ✔


      Yes. Fill in the information below.
                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                   face amount                   doubtful or uncollectible accounts

     11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________    $_______________________
    16.2.________________________________________________________________________________                ______________________    $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.


             Case 20-12130-t11                   Doc 1      Filed 11/08/20           Entered 11/08/20 08:29:41 Page 7 of 61
Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                   page 2
                   Kit Carson Home & Museum, Inc.
Debtor            _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      Yes. Fill in the information below.
      ✔




      General description                               Date of the last         Net book value of        Valuation method used        Current value of
                                                        physical inventory       debtor's interest        for current value            debtor’s interest
                                                                                 (Where available)
19. Raw materials
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
                                                                                                                                        Unknown
  See Schedule A/B Part 5, Question 21 Attachment    10/29/2020
                                                    ______________
    ________________________________________                                     $__________________       ______________________     $______________________
                                                              MM / DD / YYYY

22. Other inventory or supplies
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                     0.00
                                                                                                                                      $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
     
     ✔      No
           Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

     ✔
            No
           Yes. Book value _______________          Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     
     ✔      No
           Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used        Current value of debtor’s
                                                                                 debtor's interest        for current value            interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________      $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________      $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________      $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________      $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________                $________________         ____________________     $______________________
             Case 20-12130-t11                  Doc 1        Filed 11/08/20             Entered 11/08/20 08:29:41 Page 8 of 61
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                     page 3
                Kit Carson Home & Museum, Inc.
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                    $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of      Valuation method             Current value of debtor’s
                                                                                 debtor's interest      used for current value       interest
                                                                                 (Where available)
39. Office furniture
Microwave, small refrigerator, 4 small electric heaters, 4 small fans, 4
computers, 2 printers, point of sale accessories                                                                                     1,000.00
                                                                                  $________________      ____________________      $______________________
40. Office fixtures

                                                                                  $________________      ____________________      $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
10 display cases, 70 folding chairs, conference table                                                                                2,500.00
                                                                                  $________________      ____________________      $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________
         See Schedule A/B Part 7, Question 42 Attachment                          $________________       ____________________        Unknown
                                                                                                                                    $______________________
    42.2___________________________________________________________               $________________       ____________________      $______________________
    42.3___________________________________________________________               $________________       ____________________      $______________________
43. Total of Part 7.
                                                                                                                                      3,500.00
                                                                                                                                    $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     
     ✔ No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
          Case 20-12130-t11                    Doc 1         Filed 11/08/20                Entered 11/08/20 08:29:41 Page 9 of 61
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                   page 4
                 Kit Carson Home & Museum, Inc.
 Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      ✔


      Yes. Fill in the information below.

    General description                                                    Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________         $________________      ____________________       $______________________

    47.2___________________________________________________________         $________________      ____________________       $______________________

    47.3___________________________________________________________         $________________      ____________________       $______________________

    47.4___________________________________________________________         $________________      ____________________       $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________       ____________________       $______________________

    48.2__________________________________________________________         $________________       ____________________       $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________       ____________________       $______________________

    49.2__________________________________________________________         $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)


    ______________________________________________________________         $________________       ____________________       $______________________


51. Total of Part 8.
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         No
         Yes




           Case 20-12130-t11                 Doc 1        Filed 11/08/20         Entered 11/08/20 08:29:41 Page 10 of 61
 Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                               page 5
                   Kit Carson Home & Museum, Inc.
 Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       Real property and improvements commonly                 Leasehold interest
55.1
       known as Kit Carson Home and Museum, 113
                                                                                                                                         Unknown
       Kit Carson Rd, Taos, NM 87571                                                 $_______________      ____________________        $_____________________

55.2

                                                                                     $_______________      ____________________        $_____________________

55.3

                                                                                     $_______________      ____________________        $_____________________


56. Total of Part 9.                                                                                                                     0.00
                                                                                                                                       $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
       
       ✔    No
           Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔    No
           Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
       ✔


        Yes. Fill in the information below.
        General description                                                          Net book value of     Valuation method             Current value of
                                                                                     debtor's interest     used for current value       debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________     ______________________      $____________________

61. Internet domain names and websites
       ______________________________________________________________                $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________     _____________________       $____________________
65. Goodwill
       ______________________________________________________________                 $________________     _____________________       $____________________

66. Total of Part 10.
                                                                                                                                        $____________________
       Add lines 60 through 65. Copy the total to line 89.




             Case 20-12130-t11                   Doc 1          Filed 11/08/20          Entered 11/08/20 08:29:41 Page 11 of 61
 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                                  page 6
Debtor            Kit Carson Home & Museum, Inc.
                 _______________________________________________________                           Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
         No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         No
         Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
          No. Go to Part 12.
     ✔
           Yes. Fill in the information below.
                                                                                                                                        Current value of
                                                                                                                                        debtor’s interest
71. Notes receivable
     Description (include name of obligor)

     ______________________________________________________
                                                                       _______________     –   __________________________         =   $_____________________
                                                                       Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                             Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                             Tax year ___________      $_____________________
     _________________________________________________________________________________
                                                                                                             Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                     $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
     Counterclaims against Bent Lodge #42 AF&AM
    ______________________________________________________________                                                                       Unknown
                                                                                                                                       $_______________________
    Nature of claim                     Conversion, Fraud and Unconscionability, Failure to Repair Damage, Return of Deposits
                                       ___________________________________

    Amount requested                     0.00
                                       $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                     $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                      $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                        $_____________________
   ____________________________________________________________                                                                        $_____________________
78. Total of Part 11.
                                                                                                                                         0.00
                                                                                                                                       $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔     No
         Yes
            Case 20-12130-t11                      Doc 1    Filed 11/08/20           Entered 11/08/20 08:29:41 Page 12 of 61
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                    page 7
                   Kit Carson Home & Museum, Inc.
Debtor            _______________________________________________________                                              Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         7,804.91
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         5,252.96
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         0.00
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         0.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         3,500.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         0.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                               0.00
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                         0.00
90. All other assets. Copy line 78, Part 11.                                                      +    $_______________

                                                                                                         16,557.87                             0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




                                                                  16,557.87                                                                                        16,557.87
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................     $__________________




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Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
                Kit Carson Home & Museum, Inc.
 Debtor 1                                                               _                  Case number (if known)
               First Name    Middle Name         Last Name



                                                     Continuation Sheet for Official Form 206 A/B
3) Checking, savings, money market, or financial brokerage accounts

Centinel Bank savings                        Savings
account

Balance: 389.19

Centinel Bank donations                      Savings
account

Balance: 4,915.60




            Case 20-12130-t11               Doc 1            Filed 11/08/20    Entered 11/08/20 08:29:41 Page 14 of 61
Official Form 206 A/B                                                 Schedule A/B: Property
                                    Schedule A/B Part 5, Question 21 Attachment
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Case 20-12130-t11   Doc 1   Filed 11/08/20   Entered 11/08/20 08:29:41 Page 20 of 61
Case 20-12130-t11   Doc 1   Filed 11/08/20   Entered 11/08/20 08:29:41 Page 21 of 61
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Case 20-12130-t11   Doc 1   Filed 11/08/20   Entered 11/08/20 08:29:41 Page 23 of 61
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                                 Schedule A/B Part 7, Question 42 Attachment



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Case 20-12130-t11   Doc 1   Filed 11/08/20   Entered 11/08/20 08:29:41 Page 36 of 61
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Case 20-12130-t11   Doc 1   Filed 11/08/20   Entered 11/08/20 08:29:41 Page 44 of 61
  Fill in this information to identify the case:
              Kit Carson Home & Museum, Inc.
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: District of New Mexico

  Case number (If known):       _________________________                                                                                               Check if this is an
                                                                                                                                                            amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                 Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                  Amount of claim           Value of collateral
                                                                                                                                 Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien            of collateral.            claim


      __________________________________________                                                                                 $__________________        $_________________

     Creditor’s mailing address

      ________________________________________________________

      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                  _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred           __________________             No
    Last 4 digits of account                                        Yes
    number                   _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                   No
    same property?                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     No
                                                                 As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                    Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
                                                                                                                                 $__________________        $_________________
      __________________________________________
     Creditor’s mailing address
      ________________________________________________________

      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                 Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                      _________________________________________________
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                   No
    same property?                                                  Yes
     No                                                         Is anyone else liable on this claim?
     Yes. Have you already specified the relative                  No
              priority?
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.          As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
             Yes. The relative priority of creditors is            Unliquidated
                  specified on lines _____                          Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                  $________________
    Page, ifCase
             any.        20-12130-t11                  Doc 1        Filed 11/08/20              Entered 11/08/20 08:29:41 Page 45 of 61
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                          0
                                                                                                                                                              page 1 of ___
      Fill in this information to identify the case:

      Debtor
                      Kit Carson Home & Museum, Inc.
                      __________________________________________________________________

                                              District of New Mexico
      United States Bankruptcy Court for the: ________________________________

      Case number      ___________________________________________
      (If known)

                                                                                                                                        Check if this is an
                                                                                                                                           amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                       12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :         List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
      
      ✔    No. Go to Part 2.
          Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
       3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim                Priority amount
2.1 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________   $_________________
                                                               Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed

                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account                                 Is the claim subject to offset?
      number      _______________________                       No
                                                                Yes
      Specify Code subsection of PRIORITY unsecured
      claim: 11 U.S.C. § 507(a) (_____)
      Priority creditor’s name and mailing address
2.2                                                            As of the petition filing date, the claim is: $______________________   $_________________
                                                               Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed

                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)

2.3 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________   $_________________
                                                               Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed

                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)

                   Case 20-12130-t11             Doc 1        Filed 11/08/20             Entered 11/08/20 08:29:41 Page 46 of 61
  Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                               8
                                                                                                                                            page 1 of ___
               Kit Carson Home & Museum, Inc.
  Debtor       _______________________________________________________                               Case number (if known)_____________________________________
                Name


 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                               Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Bent Lodge #42 AF&AM                                                                                                       137,300.00
                                                                                                                             $________________________________
                                                                           
                                                                           ✔
                                                                               Contingent
    PO Box 5660                                                            
                                                                           ✔
                                                                               Unliquidated
    Taos, NM, 87571                                                        
                                                                           ✔
                                                                               Disputed
                                                                                                   Monies Loaned / Advanced
                                                                           Basis for the claim:



    Date or dates debt was incurred            2019
                                               ___________________          Is the claim subject to offset?

    Last 4 digits of account number            0488
                                               ___________________         
                                                                           ✔   No
                                                                              Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    C.J. Law                                                               Check all that apply.                               7,000.00
                                                                                                                             $________________________________
    113 Kit Carson Rd                                                         Contingent
    Taos, NM, 87571                                                           Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
                                                                                                   Wages/salary


    Date or dates debt was incurred            2020
                                               ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            __________________             Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Centinel Bank                                                                                                              18,800.00
                                                                                                                             $________________________________
                                                                           
                                                                           ✔
                                                                               Contingent
    512 Paseo Del Pueblo Sur                                                  Unliquidated
    Taos, NM, 87571                                                           Disputed
                                                                           Basis for the claim:
                                                                                                   Monies Loaned / Advanced

    Date or dates debt was incurred            2020
                                               ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            0001
                                               __________________          
                                                                           ✔   No
                                                                              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    CenturyLink                                                            Check all that apply.
                                                                                                                               492.95
                                                                                                                             $________________________________
    1801 California Street, 24th Floor                                        Contingent
    Denver, CO, 80202                                                         Unliquidated
                                                                              Disputed
                                                                            Basis for the claim:
                                                                                                   Utility Services

    Date or dates debt was incurred            2020
                                               ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                               No
                                                                              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Charles Randall                                                                                                            3,000.00
                                                                                                                             $________________________________
                                                                           Check all that apply.
    208 Beimer St                                                             Contingent
    Taos, NM, 87571                                                           Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
                                                                                                   Monies Loaned / Advanced

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Deborah Perrin                                                                                                             1,500.00
                                                                                                                             $________________________________
                                                                           Check all that apply.
    PO Box 132                                                                Contingent
    Carson, NM, 87517                                                         Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:    Monies Loaned / Advanced

    Date or dates debt was incurred            ___________________
                                               2020                        Is the claim subject to offset?
    Last 4 digits of account number            ___________________         
                                                                           ✔
                                                                               No
                                                                              Yes
             Case 20-12130-t11               Doc 1        Filed 11/08/20               Entered 11/08/20 08:29:41 Page 47 of 61
    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __    8
                                                                                                                                                           2 of ___
                  Kit Carson Home & Museum, Inc.
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             2,500.00
                                                                                                                     $________________________________
 DeeDee Miller                                                          Contingent
 PO Box 2823                                                            Unliquidated
 Taos, NM, 87571                                                        Disputed

                                                                     Basis for the claim: Monies Loaned / Advanced



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred        2020
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       2,000.00
                                                                                                                     $________________________________
 Elizabeth Halley
 PO Box 82                                                              Contingent
 Carson, NM, 87517                                                      Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Wages/salary



        Date or dates debt was incurred        2020
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Internal Revenue Service                                            Check all that apply.
                                                                                                                      0.00
                                                                                                                     $________________________________
 Centralized Insolvency Operation                                       Contingent
 PO Box 7346                                                            Unliquidated
 Philadelphia, PA, 19101-7346                                           Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      12,435.21
                                                                                                                     $________________________________
 Kamm & McConnell, LLC                                               Check all that apply.
 300 Cook Ave                                                           Contingent
 Raton, NM, 87740                                                       Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Services



        Date or dates debt was incurred        2020
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Kit Carson Electric Cooperative, Inc.                               Check all that apply.
                                                                                                                       220.67
                                                                                                                     $________________________________
 118 Cruz Alta Rd                                                       Contingent
 Taos, NM, 87571                                                        Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred        2020
                                              ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes



              Case 20-12130-t11             Doc 1       Filed 11/08/20           Entered 11/08/20 08:29:41 Page 48 of 61
       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       8
                                                                                                                                                   3 of ___
                                                                                                                                              page __
                  Kit Carson Home & Museum, Inc.
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             581.74
                                                                                                                     $________________________________
 Longleaf Services, Inc.                                                Contingent
 116 S Boundary St                                                      Unliquidated
 Chapel Hill, NC, 27514                                                 Disputed

                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred        2019
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       140.00
                                                                                                                     $________________________________
 New Mexico Gas Company
 P.O. Box 97500                                                         Contingent
 Albuquerque, NM, 87199                                                 Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred        2020
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 New Mexico Taxation and Revenue Department                          Check all that apply.
                                                                                                                      0.00
                                                                                                                     $________________________________
 PO Box 8485                                                            Contingent
 Santa Fe, NM, 87198-8485                                               Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      310.75
                                                                                                                     $________________________________
 Penguin Random House                                                Check all that apply.
 1745 Broadway                                                          Contingent
 New York, NY, 10019                                                    Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred        2019
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Sharon Sharrett                                                     Check all that apply.
                                                                                                                       1,500.00
                                                                                                                     $________________________________
 9134 Osuna Pl                                                          Contingent
 Albuquerque, NM, 87111                                                 Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred        2020
                                              ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes



              Case 20-12130-t11             Doc 1       Filed 11/08/20           Entered 11/08/20 08:29:41 Page 49 of 61
       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       8
                                                                                                                                                   4 of ___
                                                                                                                                              page __
                  Kit Carson Home & Museum, Inc.
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             2,500.00
                                                                                                                     $________________________________
 Smedly Enterprises                                                     Contingent
 PO Box 3559                                                            Unliquidated
 Taos, NM, 87571                                                        Disputed

                                                                     Basis for the claim: Monies Loaned / Advanced



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred        2020
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       39.50
                                                                                                                     $________________________________
 Taos Net
 201 Camino de la Merced                                                Contingent
 Taos, NM, 87571                                                        Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Taos Waste Management                                               Check all that apply.
                                                                                                                      30.00
                                                                                                                     $________________________________
 105 Albright Street Suite X                                            Contingent
 Taos, NM, 87571                                                        Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      80.00
                                                                                                                     $________________________________
 Tele-Gard                                                           Check all that apply.
 3225 Cumberland Blvd. SE Ste 300                                       Contingent
 Atlanta, GA, 30309                                                     Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Services



        Date or dates debt was incurred        2019
                                              ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 The Harford Mutual Insurance Companies                              Check all that apply.
                                                                                                                       583.20
                                                                                                                     $________________________________
 200 North Main Street                                                  Contingent
 Bel Air, MD, 21014                                                     Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred        2019
                                              ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes



              Case 20-12130-t11             Doc 1       Filed 11/08/20           Entered 11/08/20 08:29:41 Page 50 of 61
       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       8
                                                                                                                                                   5 of ___
                                                                                                                                              page __
                  Kit Carson Home & Museum, Inc.
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             2,000.00
                                                                                                                     $________________________________
 Tom Harper                                                             Contingent
 PO Box 620                                                             Unliquidated
 El Prado, NM, 87529                                                    Disputed

                                                                     Basis for the claim: Monies Loaned / Advanced



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred        2020
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       497.50
                                                                                                                     $________________________________
 Town of Taos
 400 Cam de la Placita                                                  Contingent
 Taos, NM, 87571                                                        Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred        2019
                                              ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  24
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Wayne Rutherford                                                    Check all that apply.
                                                                                                                      1,376.24
                                                                                                                     $________________________________
 219 Cruz Alta Rd                                                       Contingent
 Taos, NM, 87571                                                        Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________
                                              2019                   Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                        No
        Last 4 digits of account number       ___________________       Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                        No
        Last 4 digits of account number       ___________________       Yes



              Case 20-12130-t11             Doc 1       Filed 11/08/20           Entered 11/08/20 08:29:41 Page 51 of 61
       Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       8
                                                                                                                                                   6 of ___
                                                                                                                                              page __
                    Kit Carson Home & Museum, Inc.
     Debtor          _______________________________________________________                           Case number (if known)_____________________________________
                    Name



Pa rt 3 :           List Ot he rs t o Be N ot ifie d About Unse c ure d Cla ims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                         On which line in Part 1 or Part 2 is the         Last 4 digits of
                                                                                               related creditor (if any) listed?                account number, if
                                                                                                                                                any
          Lee Boothby, Esq.
4.1.      New Mexico Legal Center, P.C.                                                             3.1
                                                                                               Line _____
          515 Gusdorf Rd Ste 8                                                                                                                  0488
                                                                                                                                                ________________
          Taos, NM, 87571                                                                           Not listed. Explain:


4.2.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.3.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.4.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



41.                                                                                            Line _____

                                                                                                  Not listed. Explain                          ________________



4.5.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.6.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.7.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.8.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.9.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.10.                                                                                          Line _____

                                                                                                  Not listed. Explain                          ________________



4.11.
                                                                                               Line _____

                                                                                                  Not listed. Explain                          ________________




                 Case 20-12130-t11                Doc 1        Filed 11/08/20             Entered 11/08/20 08:29:41 Page 52 of 61
       Official Form 206E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __    8
                                                                                                                                                                7 of ___
               Kit Carson Home & Museum, Inc.
 Debtor        _______________________________________________________                    Case number (if known)_____________________________________
               Name



Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                                  Total of claim amounts



5a. Total claims from Part 1                                                                         5a.
                                                                                                                    0.00
                                                                                                                  $_____________________________




5b. Total claims from Part 2                                                                         5b.    +       194,887.76
                                                                                                                  $_____________________________




5c. Total of Parts 1 and 2                                                                                          194,887.76
                                                                                                     5c.          $_____________________________
   Lines 5a + 5b = 5c.




            Case 20-12130-t11             Doc 1      Filed 11/08/20          Entered 11/08/20 08:29:41 Page 53 of 61
   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                           page __    8
                                                                                                                                                8 of ___
 Fill in this information to identify the case:

             Kit Carson Home & Museum, Inc.
 Debtor name __________________________________________________________________

                                         District of New Mexico
 United States Bankruptcy Court for the:______________________

 Case number (If known):    _________________________                        11
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease
                                       Kit Carson Home and Museum and                    Bent Lodge #42 AF&AM
         State what the contract or    Romero House (Debtor is lessee)                   PO Box 5660
 2.1     lease is for and the nature
                                       Lessee
         of the debtor’s interest
                                                                                         Taos, NM, 87571

         State the term remaining
                                       43 years
         List the contract number of
         any government contract


         State what the contract or
 2.2     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.3     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.4
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract



            Case 20-12130-t11                 Doc 1        Filed 11/08/20            Entered 11/08/20 08:29:41 Page 54 of 61
Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        1
                                                                                                                                              page 1 of ___
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Kit Carson Home & Museum, Inc.

                                         District of New Mexico
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
       
       ✔ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1                                                                                                       _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.2
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.3
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.4
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.5
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.6
                                                                                                           _____________________              D
                                                                                                                                              E/F
                                                                                                                                              G




            Case 20-12130-t11                 Doc 1        Filed 11/08/20            Entered 11/08/20 08:29:41 Page 55 of 61
Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
 Fill in this information to identify the case and this filing:

              Kit Carson Home & Museum, Inc.
 Debtor Name __________________________________________________________________

                                         District of New Mexico
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔    Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    11/08/2020
        Executed on ______________                          /s/ Noah Shapiro
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Noah Shapiro
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Secretary/Treasurer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
          Case 20-12130-t11                 Doc 1       Filed 11/08/20               Entered 11/08/20 08:29:41 Page 56 of 61
      Fill in this information to identify the case:

                    Kit Carson Home & Museum, Inc.
      Debtor name __________________________________________________________________

                                              District of New Mexico
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                        Check if this is an
      Case number (If known):   _________________________                                                                                   amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                      12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number,      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code     and email address of         (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                             creditor contact             debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional          unliquidated,   total claim amount and deduction for value of
                                                                          services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff
     Bent Lodge #42 AF&AM                                               Monies Loaned /         Disputed
1    PO Box 5660                                                        Advanced                Unliquidated
     Taos, NM, 87571                                                                            Contingent                                           137,300.00


     Centinel Bank                                                      Monies Loaned /         Contingent
2    512 Paseo Del Pueblo Sur                                           Advanced
     Taos, NM, 87571
                                                                                                                                                     18,800.00


     Kamm & McConnell, LLC                                              Services
3    300 Cook Ave
     Raton, NM, 87740
                                                                                                                                                     12,435.21


     C.J. Law                                                           Wages/salary
4    113 Kit Carson Rd
     Taos, NM, 87571                                                                                                                                 7,000.00


     Charles Randall                                                    Monies Loaned /
5    208 Beimer St                                                      Advanced
     Taos, NM, 87571                                                                                                                                 3,000.00


     DeeDee Miller                                                      Monies Loaned /
6    PO Box 2823                                                        Advanced
     Taos, NM, 87571                                                                                                                                 2,500.00


     Smedly Enterprises                                                 Monies Loaned /
7    PO Box 3559                                                        Advanced
     Taos, NM, 87571                                                                                                                                 2,500.00


     Tom Harper                                                         Monies Loaned /
8    PO Box 620                                                         Advanced
     El Prado, NM, 87529                                                                                                                             2,000.00




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                        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                        page 1
                     Kit Carson Home & Museum, Inc.
    Debtor          _______________________________________________________                     Case number (if known)_____________________________________
                    Name




     Name of creditor and complete            Name, telephone number,     Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code      and email address of        (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                              creditor contact            debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional           unliquidated,   total claim amount and deduction for value of
                                                                          services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                 Total claim, if    Deduction for       Unsecured
                                                                                                                 partially          value of            claim
                                                                                                                 secured            collateral or
                                                                                                                                    setoff
     Elizabeth Halley                                                   Wages/salary
9    PO Box 82
     Carson, NM, 87517                                                                                                                                 2,000.00


     Sharon Sharrett                                                    Monies Loaned /
10 9134 Osuna Pl                                                        Advanced
     Albuquerque, NM, 87111                                                                                                                            1,500.00



     Deborah Perrin                                                     Monies Loaned /
11 PO Box 132                                                           Advanced
     Carson, NM, 87517                                                                                                                                 1,500.00


     Wayne Rutherford                                                   Services
12 219 Cruz Alta Rd
     Taos, NM, 87571                                                                                                                                   1,376.24



     The Harford Mutual Insurance Companies                             Services
13 200 North Main Street
     Bel Air, MD, 21014                                                                                                                                583.20


     Longleaf Services, Inc.                                            Suppliers or Vendors
14 116 S Boundary St
     Chapel Hill, NC, 27514                                                                                                                            581.74


     Town of Taos                                                       Utility Services
15 400 Cam de la Placita
     Taos, NM, 87571
                                                                                                                                                       497.50


     CenturyLink                                                        Utility Services
16 1801 California Street, 24th Floor
     Denver, CO, 80202                                                                                                                                 492.95


     Penguin Random House                                               Suppliers or Vendors
17 1745 Broadway
     New York, NY, 10019
                                                                                                                                                       310.75


     Kit Carson Electric Cooperative, Inc.                              Utility Services
18 118 Cruz Alta Rd
     Taos, NM, 87571                                                                                                                                   220.67


     New Mexico Gas Company                                             Utility Services
19 P.O. Box 97500
     Albuquerque, NM, 87199
                                                                                                                                                       140.00


     Tele-Gard                                                          Services
20 3225 Cumberland Blvd. SE Ste 300
     Atlanta, GA, 30309                                                                                                                                80.00




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                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                             page 2
     B2030 (Form 2030) (12/15)


                                      United States Bankruptcy Court
                                                                 District of New Mexico
                                               __________________________________
     In re   Kit Carson Home & Museum, Inc.

                                                                                                             Case No. _______________

    Debtor                                                                                                            11
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

    FLAT FEE
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
✔    RETAINER
                                                                                                                         0.00
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                         300.00
          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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      d. [Other provisions as needed]
all activities reasonably incident for legal representation in Debtor's Chapter 11 bankruptcy proceeding.




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




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                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for
           payment to me for representation of the debtor(s) in this bankruptcy proceeding.

        11/08/2020                       /s/ Nephi Hardman, 141595
      _____________________             _________________________________________
      Date                                    Signature of Attorney
                                         Nephi D. Hardman Attorney at Law, LLC
                                        _________________________________________
                                            ​Name of law firm
                                         9400 Holly Ave NE Bldg 4
                                         Albuquerque, NM 87122
                                         (505) 944-2494
                                         nephi@turnaroundbk.com




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